                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

               v.

 JEREMY J. RYAN,                                             Case No.: 18-cr-152-jdp

                             Defendant.


                             MOTION FOR ENTRY OF
                    PROTECTIVE ORDER GOVERNING DISCOVERY


       Pursuant to Fed. R. Crim. P. 16(d) and 18 U.S.C. § 3771(a), the United States of

America, by Scott C. Blader, United States Attorney for the Western District of

Wisconsin, by Elizabeth Altman, an Assistant United States Attorney for said district,

moves for the entry of a protective order, and in support thereof states as follows:

     1.       The indictment in this case charged the defendant in count 1 with

knowingly and unlawfully attempting to possess radioactive material with the intent to

cause death or serious bodily injury in violation of Title 18, United States Code, Section

2332i(a)(1) and (3) and in count 2 with unlawfully intentionally attempting to receive

and possess nuclear or nuclear byproduct material, in violation of Title 18 United States

Code, Section 831(a)(1)(B) and (a)(8). The defendant pleaded guilty to count 2 and was

sentenced to time served.

     2.       The discovery provided by the government in this case included sensitive

information, the unrestricted dissemination of which could adversely affect law

enforcement interests and the privacy interests of third parties.
    3.       The defendant has already posted portions of an interview with law

enforcement online.

      WHEREFORE, the government respectfully moves this Court to enter the

proposed protective order.

      Dated this 19th day of March 2020.

                                             Respectfully submitted,

                                             SCOTT C. BLADER
                                             United States Attorney

                                       By:             /s/
                                             Elizabeth Altman
                                             Assistant United States Attorney




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